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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

FORT MEYERS DIVISION 16 JUL 13 AM {0:47
CLERK, ‘1.5 UE COURT
Case No. 2:13-cr-72-FtM-29CM MIOBLE bist Lar “LORIDA
UNITED STATES OF AMERICA,
Plaintiff,
VS.
PATRICIA LYNN HOUGH,
Defendant,
and
VALIC
Garnishees.

GARNISHEE VALIC’S ANSWER TO WRIT OF GARNISHMENT

Having received notice of a Writ of Garnishment on June 28, 2016, Garnishee hereby
files this Answer in accordance with 28 U.S.C. § 3205. This Answer is being prepared by:

Name: Kortney S. Branum
Title: Attorney
Address: 2929 Allen Parkway, L4-01, Houston, Texas 77019
Phone: 713.831.5166
1. DESCRIPTION OF GARNISHEE: Garnishee files this Answer as:

0 A Corporation

Name of Corporation: The Variable Annuity Life Insurance Company
Affiant’s Official Title: Attorney

Address: 2929 Allen Parkway, L4-01, Houston, Texas 77019
Phone Number: 713.831.4242

State of Incorporation: Texas

Principal Place of Business: Houston

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2. PRIOR GARNISHMENTS:

For each previous garnishment involving the Defendant which is still in effect, please
provide the following information:

None

3. DESCRIPTION OF PROPERTY IN WHICH THE DEFENDANT HAS AN
INTEREST:

Garnishee states as follows:

 

 

0 Garnishee has possession, custody or control of the following property in which
Defendant has an interest:
Name Company | Annuity Policy Address Current Value
Number
Patricia VALIC 2970588 1548 Selby Lane, $359,882.81
Hough Unit 7; Sarasota,
FL 34236-7006

 

 

 

 

 

 

 

4. CERTIFICATE OF SERVICE
Garnishee certifies that it has served a copy of this Answer on:

o Attorney for the Defendant, Bruce L. Udolf, PA
0 500 E. Broward Blvd., Suite 1400
Ft. Lauderdale, FL 33394

Date of Service: July 12, 2016
Via USPS Certified Mail, Return Receipt Requested
and

Oo U.S. Attorney’s Office
Suzanne C. Nebesky, Assistant United States Attorney
400 North Tampa Street, Suite 3200
Tampa, Florida 33602

Date of Service: July 12, 2016

Via USPS Certified Mail, Return Receipt Requested
and

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Oo United States District Clerk
Middle District of Florida
Ft. Meyers Division
2110 First Street
Ft. Meyers, Florida 33901

Date of Service: July 12, 2016
Via USPS Certified Mail, Return Receipt Requested

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Garnishee declares under penalty of perjury that the foregoing is true and correct.

 

Kortnéy S. Branum, Attorney
TSB No. 24032044

Subscribed and sworn before me this /,) day of July, 2016.

 

Notary Public Ca

My Commission Expires:

Sal gt et Ne al al al a ll Nl Nl a al ll Neg all Nel gel a

 

   

 

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Y (E28 CAROLLJ.DUNCAN #
¥ Notary Public, State of Texas &
Y Xo My Commission Expires 09-16-2018 2
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